Thomas M. Otepiczak Retired:

Frederick L. Schmidt G BC
Ro George Burnett nae ; “ve
Gregor A. Grobe . Michael Jerry

Ter L. Kluess
Robert M. Cherles
Brick N. Murphy
Jodi Arndt Labs

Daeid H. Weber SIL & 2 ee he Re i m ELE By we 2
Ress W. Tounsend Facsimile: (920) 437-2868

Telephone: (920) 437-0476

  

Micheie M M:Kinnon

Kirt A. Goehre my oa

James M. Ledtina GBGleoj.aw-com
Steven J. Krueger www lcoilaw.coin
Nid Ray

Joshua M. Koch
June 6, 2017

Attorney James A. Walcheske
15850 W. Bluemound Road, Suite 304
Brookfield, WI 53005-6008

Re: Fast, Timothy J. vs. Cash Depot, Ltd.

Dear Attorney Walcheske:

[ have enclosed my client’s draft in the amount of $338.98, which represents the full amount that
your client would be owed in the event he received everything he claims in his complaint in the
above-referenced action. The calculation has been done by Schenck & Company, Cash Depot's
outside accounting firm, and includes all statutory damages as well as the allegedly unpaid
compensation he claims. We forward this based on the economic considerations involved,
particularly the fact that the cost of litigating your client’s claims will greatly exceed anything
that might be owed him.

We have not enclosed a check for the costs or reasonable attorneys’ fees in advancing the claim,
because that information is lacking. My client will pay those costs and reasonable fees, so please
forward an accounting of the costs and reasonable fees, and we will promptly remit payment.

In the event that this request is somehow insufficient for your purposes, I have enclosed a formal
discovery request as well.

If you have any questions regarding any of the above, please advise.
Thank you very much.
Very truly yours,

LAW FIRM OF CONWAY, OLEJNICZAK & JERRY, S.C.

  
  

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LEA

( Forte Burnett

GB:jft 26/2053
Enclosure

~ EXHIBIT

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P.O. Box 23200 . Green Bay, Wi 54305-3200 * Phone: 920.437.0476 © Fax: 920.437.2868
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ATE
CASH DEPOT, LTD 06/05/2017
1740 COFRIN DRIVE
GREEN BAY, WI 54302
AMOUNT
$ 338.98
THREE HUNDRED THIRTY EIGHT DOLLARS and 98 CENTS
PAY
TO THE
ORDER
OF /
Timothy J. Fast
2564 Swanson Road
Portage, IN 46368
642 F SRVC Fast, T. J. XXX-XX-8375 05/31/2017 0000069
EMPLOYEE NO. DEPARTMENT EMPLOYEE NAME SOCIAL SECURITY NO. PERIOD END CHECK NO
EARNINGS HRS/UNITS CURRENT AMOUNT YEAR TO DATE DEDUCTIONS CURRENT AMOUNT YEAR TO DATE
Audit Pay 0.000 380.76 380.76 | FEDERAL MEDICAR 5.52 5 52
FEDERAL SOCIAL 23.61 23.61
INDIANA 10.95 10.95
Porter Cty IN 1.70 1.70
VACATION BAL 0.000
15.00 380.76 41.78 338.98 380.76 41.78 338.98
PAY RATE CURRENT EARNINGS CURRENT DEDUCTIONS NET PAY Y.T.D EARNINGS ¥.T.D. DEDUCTIONS Y.T.D. NET PAY

 

 

 

 

 

 

 

 

Employer Match 401K:

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